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                                         KEITH BROWN
                                        July 03, 2023

                                   UNITED STATES DISTRICT COURT

                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


              JUSTIN GUY, individually and

              on behalf of those similarly
              situated,
                                   Plaintiff,

                    vs.                         Case No. 20-cv-12734-MAG-EAS

                                                Hon. Mark A. Goldsmith

              ABSOPURE WATER COMPANY, LLC,

              a domestic limited liability
              company,
                                   Defendant.




                    The Remote Deposition of KEITH BROWN,

                    Commencing at 10:04 a.m.,

                    Monday, July 3, 2023,
                    Before Helen F. Benhart, CSR-2614,

                    Appearing remotely from Wayne County, Michigan.




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              1   REMOTE APPEARANCES:                                            1   Re.note Proceedings
              2
                                                                                 2   MJirlay, July 3, 2023
              3   ANDREW R. FRISCH                                               3   10:04 a.m.
              4   Morgan & Morgan, P.A.                                          4
              5   8151 Peters Road                                               5                     'IllE REPORTER:     '1he attorneys participating
              6   Suite 4000                                                     6        in this deposition acknowledJe that I am not
              7   Plantation, Florida     33324                                  7        physically present in the deposition roan. 'Ibey
              8   (954) 967-5377                                                 8        further ackwilled:.3e that in lieu of an oath
              9   afrisch~forthepeople.com                                       9        adninistered in person, the witness will verbally
             10        Appearing on behalf of the Plaintiff.                    10        declare his testinony in this ll'dtter is uooer penalty
             11                                                                 11        of perjury. '1he parties arrl their counsel consent to
             12   MICHAEL 0. CUMMINGS                                           12        this arrangenent arrl waive any objections to this
             13   Cummings, McClorey, Davis       &   Acho, P.L.C.              13        manner of reporting.       Please iooicate your agreenent
             14   1185 Avenue of the Americas                                   14        by stating your nalll! arrl your agreenent on the record.
             15   Third Floor                                                   15                     MR. FRISOI:       Arxirew Frisch for the
             16   New York, New York 10036                                      16        plaintiff, yes.
             17   (212) 547-8810                                                17                     MR. cn+ITN::;S:     Michael Clm11ings for
             18   mcummingsacmda-law.com                                        18        Defen:iant, yes.
             19        Appearing on behalf of the Defendant.                    19                              KETIH BRCTtlN,
             20                                                                 20        Was thereupon called as a witness herein, aIXi after
             21                                                                 21        having been first duly S\\Om to testify to the truth,
             22                                                                 22        the whole truth airl nothing but the truth, was
             23                                                                 23        examined aIXi testified as follows:
             24                                                                 24                              EXN-IINATION
             25                                                                 25   BY MR. ClMUN3S:


                                                                       Page 3                                                                     Pages
              1                       TABLE OF CONTENTS                          1   Q.   Gcxxi trorning, Mr. Bm,,,n,
              2                                                                  2   A.   <bximming.
                   WITNESS                                           PAGE        3   Q.   So you I re having your deposition taken tcxlay. Have
              4    KEITit BROWN                                                  4        you ever had your deposition taken before?
              5                                                                  5   A.   H:>, sir.
              6    EXAMINATION                                                   6   Q.   So I •m g:>ing to nm through a few details, preliminary
              7    BY MR. CUMMINGS:                                              7        details. A deposition is testinony for a court case,
              8    EXAMINATION                                                   8        arrl like as if you~ in actual court, you are uroer
              9    BY MR. FRISCH:                                    49          9        oath arrl the court reporter is taking cbrlil what you
             10                                                                 10        say arrl will prcdlce a transcript, a written record of
             11                            EXHIBITS                             11        that, arrl you will be provided a copy. So, first of
             12                                                                 12        all, r uooerstarrl that you are -- r •11 ask you to
             13    EXHIBIT                                            PAGE      13        confinn that you know that you're uooer oath arrl
             14    (Exhibit electronically provided to the reporter.)           14        potentially subject to penalties for perjury if you
             15                                                                 15        knowingly state anything false.
             16    DEPOSITION EXHIBIT l                               36        16   A.   Yes, I understand.
             17                                                                 17   Q.   I'm g:,ing to be as~ you a series of questions airl
             18                                                                 18        perhaps -- by the way, can you hear rre okay?
             19                                                                 19   A.   Yeah, I can hear you, yes,
             20                                                                 20   Q.   I'll try to speak lcwer. I'm on a headphone mic.
             21                                                                 21        I.et tre see.I'll hold it up a little closer here.
             22                                                                 22                   If at aey tille you don't hear ne or don I t
             23                                                                 23        umerstan:i Trrf question either because you can I t hear
             24                                                                 24        the w:irds or it ooesn•t tl8ke sense, I w:iuld ask that
             25                                                                 25        you please let ire kmrl. Is that okay?


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              1   A,   Yes.                                                          1        correct?
              2   Q.   Okay.    Ard, also, I 1ro01ld ask that you -- when you        2   A.   Yes.
              3        give answers, as you just did, say the ~rd yes or no          3   Q.   Ck) you recall the dates that you ~re errployed?

              4        rather than nod:liIY:J yoor head or sayirg nm-hum.            4   A.   I >aia.,, I started Septe:rber of either 2006 or 2007, and
              S   A,   Yes.                                                          s        I was temillated in maybe l'.ly or June of 2020.
              6   o.   Ard, also, I'd like if I ask you a question and you' re       6   Q.   Okay.    Alxi It.hat was your reason for leaving Absop.u:e?
              7        not sure, I don't -- I \I.OUl.d ask you oot to guess.        7    A.   During the pandmic they -- I bad to stay bane to
              8        Ha.ever, if you have an awroximation about when or            8        watch '11.f/ children, and they were I guess tryuig to
              9        about ho.ii long or about what date, that 1 s fine to give    9        force m back to t«>rk, and I couldn't t«>rk because I
             10        approximations rut oot p.ire guesses.     Ck) you            10        bad kids at bane, so they just end up letting me go.
             11        uooerstand? Or speculations.       Ck) you understand?       11   o.   Okay.    Just for -- also for the record, I forgot to
             12   A.   Yes,                                                         12        ask this earlier, could you please state your current
             13   Q.   Okay.     tbl, is there ~ that might keep you fran           13        acih'ess?
             14        giviIY3 rre full and carplete answers today such as          14   A.   It's
             15        typically sare peq,le are umer mii.cation or sore            15        Michigan 48331.
             16        kirxi of drug or other factors that might affect their       16   Q.   Is that were you \rlere liviIY3 during the tine you were
             17        ability to hear and answer questions.       Is there         17        errployed by .Absop.Jre?
             18        anythiIY:J like th.lt going on with you today?               18   A.   Not -- well, when I got teminated that's where I was
             19   A,   No, sir.                                                     19        livillg, but no,    I stayed in one other residence.
             20   Q.   Okay.     lat, yoor attorney may object to the questions.    20   Q.   Okay.     Do you recall llrtat that ad:iress was?
             21        ~ t of the tine that rreans he's p.1tting sarething on       21   A.   I think it was
             22        the record. He doesn't like the fonn or sanethirg            22   Q.   Okay.
             23        aboot the question, but nomally you 't.OOld anm,;er          23   A,   I don't rmember the ZIP coda at the m:mmt.
             24        tmless your attorney specifically instructs you not          24   Q.   Ard when you ~re enployed by -- are you currently
             25        to.     Ck) you wxlerstand?                                  25        \\Orkirg?


                                                                           Page 7                                                                 Page 9
              1   A,   Yes.                                                          1   A.   No.     No, sir.
              2   Q.   Ard rray I ask where are you today with this                  2   Q.   What was your position at Absopure when you '11.'ere there
              3        deposition?                                                   3        or positions if you had rrultiple ones?
              4   A.   I am at the law office. It's in one of their roans            4   A.   You mean like the whole time there? Basically I just
              s        right DCM,                                                    s        was a delivmy guy, delivmy driver.
              6   o.   Okay.     Is anyooe with you in the roan?                     6   Q.   Arx:l OCM did you -- did you have a title for that
              7   A.   No.                                                           7        position?
              8   Q.   Ck) you h.1ve any cmp.1ting or c:o:munications devices        8   A.   I think it's called l.ilte an S3 or smething l.ilte that.
              9        with you at the m::irent?                                     9   Q.   S3, like the letter s, as in sam?
             10   A,   I have a phone, but it's m silent.                           10   A.   Yes, s, as in Sa:m, yeah.
             11   Q.   Okay. And there's an agreerent in the case that you          11   Q.   Is that an abbreviation for special?
             12        WJil It be camunicating with anyone about thiS               12   A.   It's like sales service specialist. I'm pretty sure
             13        deposition wile it I s going on.     Ck) yoo umerstand       13        that• s mt it• s called.
             14        that?                                                        14   Q.   Okay. Ard 11.rat ~re yoor job responsibilities as a
             15   A.   Yes.                                                         15        sales service specialist or S3?
             16   Q.   lat, I expect this deposition to be WD!r two boors,          16   A.   Just a deliverer of mtever accounts w have for the
             17        and I \\00 1 t necessarily take a break, but if at any       17        ~- Whatever was on our schedule, just make, you
             18        titre you think you need a break, bathroan break or          18        Jcncw, our stops and deliver water or coffee or
             19        anything else, please let rre kna.rJ.                        19        watever products we had.
             20   A.   Okay.                                                        20   Q.   Okay. Alxi 11.rat were the procructs that you delivered?
             21   o.   As lorg as ~ 1 re oot in the mickil.e of a question and      21   A.   Just water, cases of water. Ne have coolers that we
             22        ~ , ~ will take the break at th.1t tine.                     22        have to replace if SC111ething •s wrong with them or just
             23   A.   Okay. Q:Jt you.                                              23        if we have to get any new accounts we bad to set them
             24   o.   Ard you• re being deposed here today because you were        24        up, that type of stuff, the coffee.
             25        once euployed by 1lbso?,II'e water Cmpany, is that           25   Q.   Ard I'd like to start rut and sort of step thrwgh the


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              1        actions that you took during your day as an errployee,           1        Kronos system said that you clocked in in the ooming
              2        aoo rrostly I'm looking for your typical day, rut if             2        or swiped your badcje by the clock, an:i I •m just -- I •m
              3        there's anything -- yoo can feel free to m:ntion                 3        going to run -- scroll through it.          It begins -- 1r.e
              4        unusual events that happened saretines. You 1AOrked at           4        have 2018 dates here.
              5        the -- a facility in Plynx:uth, is that correct?                 5                      MR. FRISOi:     lt>te our objection. lt>te
              6   A,   Yes,                                                             6        plaintiff's abjection. There's no foumation here for
              7   Q.   Did you have a fixed start tirre for yoor day?                   7        this exhibit, but subject -- an:i I'm not going to keep
              8   A.   Ho.     That job you just kind of cane in wenever you            8        objecting every tirre you ask a question, but 1r.e have a
              9        cane in, but I always came to 1110rk about 6: 30 to              9        continuing objection to this exhibit.
             10        seven, smetimes 7:30 depem:liir:J if there was traffic          10   BY MR. C!M-UmS:
             11        or anythillg, but 6:30, seven was the tilre I got to            11   Q.   Okay. And I'd like yoo to look at the colums one --
             12        mrk daily.                                                      12        it's the fifth column fran the left, ll'aybe six, seven
             13   Q.   New, I've been infomed that there is sort of a clock            13        colurms fran the right.        It says in on the top.
             14        or a Kronos tirre systan there.                                 14   A.   Yes.
             15   A,   Yes,                                                            15   Q.   And it has a list of tirres, an:i I 'l«lUld ask you to
             16   Q.   Did yoo have an errployee bad;Je?                               16        take a look at these tirres, an:i to the best of yoor
             17   A.   Yes, we had a badge, yes.                                       17        recollection, ck> these seem like tirres that you i.r.oold
             18   Q.   Okay. And did you use this badge to swipe in or --              18        have begun \IX:lrk during -- this is January of 2018 --
             19   A.   Yeah. You just tap the thing and it just said that --           19   A.   Okay.
             20        you Jmaw, just has -- it just beeps, yeah.                      20   Q.   -- by the way, an:i I'm \t.OOOering if that to best of
             21   Q.   Okay. And~ did yoo ck> that when you --                         21        yoor recollection reflects tines that you began
             22   A.   I mJld usually do it when I first g:,t to work.                 22        \roOrking those days.
             23   Q.   Okay. Were there aey tin-es that you didn't ck> it for          23                     MR. FRISCli:     I •m just going to object to
             24        sare reason?                                                    24        the fonn, but yoo can anN!r the question.
             25   A.   Hot when I first -- I've always usually punched in              25                     '1HB WI'INPSS:   I mean, yeah, that's


                                                                        Page 11                                                                      Page 13
              1        evety day but smetimes not when I first get in.                  1        possible, yeah, but if it's January, I mean, yeah,
              2        Saretimes I 1 11 punch in when I pull 'l11f truck up or if       2        ""8ather. It's all different times so yeah.
              3        I forgst I may punch in on the 1BY in sa:netimes when I          3   BY MR. ClM-UmS:
              4        g:>t back £rem rrtf route. You just had to punch in              4   Q.   Okay.     I just -- I will note for the record that these
              5        CDCe.    'l'hat was pretty llllCh it. We didn't punch in or      5        tines are sarei.nere arouoo seven, 110st of them,
              6        cut.    I mean cut. We just punched in.                          6        seven --
              7                       MR. OJM,lllGS: can ~ take a brief pause?          7   A.   Yeah.
              8        I'm \roO~ on sen1ing the d:x:urents.        I think they're      8   Q.   -- after seven, sare earlier.          I'm scrolling throogh.
              9        uploaded and ready to go, an:i I will seni these in              9        New 1r.e 1 re d:iwrl to May of 2018.    I 'Am't scroll throogh
             10        case I need to bring them up.                                   10        the whole ck>rurent, but ck> these appear to be typical
             11   BY MR. (tM{I}l;S:                                                    11        tines that you 1t0lld have started \roOik wile yoo Ir.ere
             12   Q.   Since 1r.e 1 re talking about it, I'm going top.it up a         12        with --
             13        ckx:ulent on the screen an:i have yoo take a look at it.        13   A.   Yes. That's pretty accurate, yeah.
             14        Just give n-e a minute.     I will get it ready here.     I'm   14   Q.   Okay. So after yoo clocked in in the noming, -.mt
             15        going top.it up a doclmmt, an:i I don't expect that             15        ~re the next things that you did?
             16        you've ever seen it before, but I will p.it it in front         16   A.   We clock in. I g:, to 'fll/ little ma.ill:>ox, get rrt/
             17        of you ~Y. can yoo see a ck>curent on yrur screen               17        papmwork that has rrtf daily like route and all 'l11f
             18        at the nment?                                                   18        stops and where I •m goiDg for tbe day, get that stuff
             19   A,   Yes.                                                            19        together and then I will grab -- I will get that.
             20   Q.   Okay.     I will state for the record that this is a list       20        Then w g:, out to where we have the cooler roan
             21        produced - - m.lde by Absopure for this case aoo                21        because a lot of tiries we always have new coolers that
             22        produced.      It bears a Bates IUJtber -- nurbers              22        we have to swap out for broken coolers or anythiDIJ or
             23        begi.nni.IY:J M3S 001552 and   ems in 1586, an:i this is a      23        just new accounts. we bad to do that. Then we 1IIOUld
             24        list that -- provided to your attorneys that Absop.ire          24        g:, -- after that I would have to g:> get ftt/ truck and
             25        p.it writing daffl your -- that the tines that the              25        make sure 'l11f truck is loaded properly, and mpefully



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             1         it is.    If it's not loaded, I have to go in the             1   A,   '111at IS popping the hood, making sure you have, you
              2        warehouse and get 8Irf other additional water or              2        know, coolant, oil, checking the bases, making sure
              3        products as far as, you know, just cups or anything           3        the bases -- nothing is caning a loose. You have to
              4        and make sure, you know, 'flt/ truclt is loaded properly,     4        check the tires, making sure that the tires have the
              5        and after that I have to do a truclt inspection, a            5        proper tread an them, check the bolts, make sure the
              6        pre-truck inspection that we have to do on the truclcs,       6        bolts is not lose and we have to do like an air brake
              7        Then I have to -- I load everything up in the truclt.         7        inspection where you have to punp the air out the
              8        I drive up to the front, to the fmnt building, and I          8        brakes, let it build up to make sure it's gouq to run
              9        have to find one of our managers to have us -- to             9        properly on the road.
             10        check us out so that's the precess.                          10   Q.   How long did that inspection typically take you?
             11   Q.   How often did yoo need to pick up a cooler in the            11   A.   Maybe 15, 20 minutes.
             u         cooler roan?                                                 12   Q.   And, again, did you oo that back -- did you oo that
             13   A.   I mean, mstly it was at least a cooler per dJrf              13        inspection back in the lot where the trucks are?
             14        because, I iman, 118 have -- I have large routes.     It's   14   A.   Yeah.    we usually do it in the lot, yeah.
             15        always oanebody ~ bas a cooler that needs to get             15   Q.   And then after you inspected, yoo say you drove it to
             16        replaced or a new account or anything so it was pretty 16              front?
             17        llllCh daily.                                                17   A.   Yeah.    Once you do all that and you load the truck
             18   Q.   Did you saretines have nore than - - take nore than one      18        with the extra product you need, the coolers, then w
             19        cooler?                                                      19        drive up to the front office and we find a boss to
             20   A.   Yes. A lot of days it was cme than one, yes.                 20        check us in. we have to mt because it• s usually --
             21   Q.   How nany would you say would be the awdaun lllJliler of      21        it• s al\6}'8 other drivers there so it's like a line.
             22        coolers yoo might take?                                      22        You have to mt your tum. we just mt for a
             23   A.   I mean, it varies.    It can be bio or three or it can       23        manager to check us in. 1'bey just check our -- that
             24        be, you know, seven or eight.     If I have a building,      24        a t we have is correct.
             25        one of 'flt/ plants, you know, that they just going          25   Q.   By check you rrean you' re checking the products --


                                                                      Page 15                                                                 Page 17
              1        through their regular -- just cleaning where they' re         1   A.   Yes,
              2        getting all their coolers replaced, it can be pa,JeS of       2   Q.   -- that are on your truck?
              3        them, so it• s not like a mmber 8V8IY dJrf that• s like       3   A.   Yeah.    The products that• s loaded, make sure w have
              4        an estimate, but, you know, it's -- usually always            4        the right products.
              5        have SClll8 coolers to fix, tboutJh.                          5   Q.   Did you have a handheld device --
              6   Q.   When you \l.ellt to get your truck, where was the truck?      6   A.   Yes.
              7   A,   The trucks are like in the back area, wich is just            7   Q.   -- that you used? What was this device?
              8        like a big old lot where they park all the trucks.            8   A.   I don• t knalJI exactly a t it• s called.   It• s just a
              9   Q.   llid ~ you got your truck, is it correct that yoo             9        handheld that we put all the product in,
             10        looked at the truck to see ~ t prochlcts were on the         10   Q.   By putting the product in, ~too you l!eail by that?
             11        truck?                                                       11   A.   You t«>W.d put in -- so, you kna.il, we have tw:>
             12   A.   Yes. To make sure it•s loaded properly, yes.                 12        different types of water, distilled and spring. We
             13   Q.   Okay. And if yoo -- on a percentage basis or                 13        m1rf have 200 bottles of spring, 100 bottles of
             14        whatever, was it -- is it correct to say that nest of        14        distilled so you put that in the bandheld 80 as you go
             15        the time it was loaded properly?                             15        through your stops and make your deliveries, it starts
             16   A.   Yes, mst of the time, yeah.                                  16        to subtract, so once you get down -- say I sold all 'lI1/
             17   Q.   Do you have a sense for ha,,, often it was not loaded        17        bottles of spring.    If I still bad spring stops, I
             18        properly?                                                    18        muldn I t be able to make 8Irf other deliveries because
             19   A,   Well, it can be loaded -- not loaded properly or             19        I don't have the product. It will just say zexo. You
             20        sanetimes when the manager• s caning in in the mming,        20        don• t have 8Irf products. You have to put everything
             21        they m1rf add a stop here or there 80 DCM' you have to       21        in your bandheld properly so that's what -- the
             22        adjust for the extra stops they ad3ed to our route.          22        managers check to make sure we have everything loaded
             23        '111at •s another factor.                                    23        properly in the handheld. 'Dlat wa'/ w can do our
             24   Q.   And yoo mentioned then ooing a truck inspection. What        24        stops.    If you put the wrong number in, it wcn•t make
             25        was that inspection?                                         25        8Irf stops or transactions if you den' t have that --



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              1        you Jmu,,,, if the handheld thinks it's not enough               1        30, 40 to an hour dependiDg on h:M many people are
              2        product on the truck.                                            2        there.
              3   Q.   So it 'a correct to say that when you had your                   3   Q.   Is there anything that ll.OOld ll'ake it longer than that
              4            inspection with the nenager after driviir:J up, you          4        typical day, anything that might occur you have to oo?
              5        \\OUld have J;Ut in yoor handheld the total nurber of            5   A.   Only thing that \llOUl.d make it lODger, if your truck is
              6        products that yw had on the truck for the day?                   6        loaded ccmpletely wnmg, you have to go in the
              7   A,   Yes. They just double check it, yes,                             7        warehouse and have the loaders adjust racks and
              8   Q.   Okay. A!Xl did you deliver coffee products?                      8        thiDgs, take racks of water off and put different
              9   A,   Yes, I did,                                                      9        water on. '111at could take time. Like I said, it•s
             10   Q.   Okay. Were toose loaded onto yoor truck at the                  10        always people ahead of you. If it• s a line ahead of
             11        ~ when you picked it up?                                        11        you, you have to wait for each driver to get their
             12   A.   Ho. Once• get our trucks and drive up to the front,             12        trucks loaded. You can't just -- you don't just pull
             13        the coffee was actually in the office at the front              13        up and get your stuff and do this. Like evetything is
             14        office wlme the mmagers are so I IOUld load up.             I   14        asseibly line fran getting coolers because it's alMl}'B
             15        \llOUl.d pull 'rrlf truck up to the front and get a manager,    15        people there so you have to wait for saaebody to help
             16        but that was after I get all r:rt/ coffee and put that on       16        you or, you know, to check your papem>rk and all that
             17        the truck.                                                      17        stuff. Bvmytbing is just asse:rhly line basically.
             18   Q.   Okay. b , I •ve beard the tem checking cut with yoor            18        It's never just walk in, grab your stuff, walk out.
             19        handheld.                                                       19   Q.   NIM, were you -- during the tin-e that you were
             20   A,   Yes.                                                            20        there -- and I'm going to ask you fran about the years
             21   Q.   Have you heard that? A!Xl 'l.ilat ooes that trean?              21        late 2017 onward. 1bat •s the relevant period behioo
             22   A.   bt•s mt I'm explaining right now. 'lbat•s us                    22        ~ t ..e•re looking at.     Did you drive the sane mite?
             23        getting checked out. We put the pxoduct in first,               23   A.   Yes,
             24        evetything that •      have, coffee, coolers, water, and        24   Q.   AIXl ~ t ~ that route?
             25        then the -- it bas to go through -- we okay it and              25   A.   ~ route was basically Detroit.       I had just like the


                                                                        Page 19                                                                  Page 21
              1        then it bas to go to the manager• s page and they put            1        city, I did banes and then I bad like the midtown to
              2        they codes in and then they go through and okay that             2        downtown area where I did a lot of just all office
              3        all the mm'bers match up right.                                  3        buildiJJgs, stadiums, so I had like a large route where
              4   Q.   Is there sarething you oo on the handheld to check               4        I covered like half of Detroit.
              5        out?                                                             5   Q.   How ll'aily stops ..ere on that route?
              6   A,   Yeah.     I just put the mmi>ere in.   we put -- I'm             6   A,   Porty to so per day.
              7        sony.      Like I don• t JmcM a t you •re asking.                7   Q.   Did it change fran day to day?
              8   Q.   For exanple, d::>es the handheld device have a touch             8   A,   I mean, yeah, it changed fran day to day.     I averaged
              9        screen?                                                          9        about 40 to 50. Salle days if I was just doing r:rt/ heme
             10   A.   Yes, touch screen and butt:cns, yes.                            10        days, which was like I think once or twice a week, it
             11   Q.   A!Xl \\OUld you either press the rutton or -- on the            11        would be around 35 to 40-ish just depending on, you
             12        haooheld or on a spot on the handheld on the screen to          12        lml::M, just extra people that call in. It varies, but
             13        say that you ..ere checking - - you checked out for the         13        it was 35 to 45 per day for ne mstly.
             14        day?                                                            14   Q.   A!Xl about -- do you recall if you drove a particular
             15   A,   Yes.                                                            15        truck fran late 2017 onward?
             16   Q.   Okay. lk> you have a sense of ~ long it typically               16   A,   Yes.     I don't know the mmber of the tiuclt, but, yes.
             17        took you fran the tine you walke:i in, swiped in in the         17        I drove a standard ten bay truck.
             18        ll'ODU.D:J to the titre you checked out yoor truck on your      18   Q.   was it the sarre truck typically or --
             19        typical day?                                                    19   A.   Por the 100Bt part, yeah. Once you bad a route, you
             20   A,   It takes about I would fW/ 30 to 40 minutes, if not             l0        kiJJd of bad your main truck, but if it was to be in
             21        longer. Depends on D many drivers are there.           If       21        the sbop, they would adjust, or if scmebody else's
             22        I'm the anly driver, which that never happens because           22        truck was bxoJce down, they start doing the shift where
             23        •     have like 60 drivers, if it's just me CCllling in, it     23        they say, hey, you talce this truck because you need
             24        could be about 30 minutes maybe, but it's always guys           24        m:>re water, you don't need as mu:h, you take this
             25        ahead of you so you have to wait in line. Chul.d be             25        truck.     It's an eight bay truck instead of ten bay


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              1        truck, but for the mst part wall drive our standard            1   A.   Once you get baclt to the plant, you D'7t1I have to pull
              2        trucks when you have a route.                                  2        up to the warehouse so hopefully -- it•s usually a
              3   Q.   b      long did it typically take for you to carplete          3        line of drivers there so you have to wait in line to
              4        yrur route per day?                                            4        get in there. Once you get inside, they take your
              5   A.   Nell, considering I had like office buildings, I               5        handheld and do what they call -- they do a checltout
              6        stepped evmy day about 4:30 to five because I deal             6        \lm8%8 they check bow much water is left, bow many
              7        with a lot of docks, loadiJlg docks and stuff frcm             7        eicpty bottles you have, you Jena,,,, Whatever is OD your
              8        doing hospitals and things so I ll0Uld stop around             8        truck they just put a ccunt in so they have to match
              9        4:30, five, and that's when I ll0Uld head back into the        9        up with what you went out with.
             10        plant or I may have a house or b«> to do after I              10   Q.   By put the C01.lllt in, do you maan enter those
             11        finish=/ buildings so -- but usually 4:30, five is            11        nuooers --
             12        when I stopped on the route.                                  12   A.   Enter the mmbers in, yes.
             13   Q.   I:ming your rrute did you ever take any breaks either         13   Q.   Please just -- I know sanetines the answer to my
             14        for lunch or to grab a cup of coffee or anything like         14        questions are obvious.  I ~ d ask you to please wait
             15        that?                                                         15        until I finish. It !Mkes it easier for the court
             16   A,   I muld grab food and sit for about a half hour.               16        reporter aoo also give the attorney an opportunity to
             17   Q.   Okay. And where did you typically grab food?                  17        object if he needs to.
             18   A.   Like I said, I'm out OD the road a lot.      If I was by a    18   A.   Okay.
             19        McDonald's or scmething I may grab a H::Donald•s.     If      19   Q.   And I heard that -- you trentioned the checkout in the
             20        I'm in the hospital, it was a Chick-fil-A there,              20        rroming. I've heard the term check in. Are you
             21        Cbick-fil-A, Subway, depend which area.      I'm in           21        familiar with that term?
             22        different areas certain days, so whatever area I'm in,        22   A.   Yes, sir.
             23        whenever I just see scmething, I just grab it because         23   Q.   And wat is yrur uooerstaooing of the term check in?
             24        I'm usually pressed for time.                                 24   A.   Yes. That's what I was referring to.      So yes. The
             25   Q.   And when you ~ making custcner stops, did you                 25        check in is when we finish with the route. Once we


                                                                       Page 23                                                                Page 25
              1        interact with custarers?                                       1        drive back to the plant, we pull up to the warehouse
              2   A.   Yes, when we have to get like receipts and things              2        and we have a loader. They check in your truck so
              3        signed. After w make our delivery, w have to give              3        they check in your product. They check eveiyt:bing
              4        them, you know, their receipt. Salle cust:cmers paid           4        that IS 0n your truck, all the product,
              5        cash, sane paid, you knew, by check and then sa?e just         5   Q.   And after you checked in in the warehouse, wat did
              6        auta11atically had a credit Caid so they just signed           6        you oo after that?
              7        for the receipt and we give them t.heir copy and w             7   A.   You park your truck and then we have to walk back to
              8        take our copy.                                                 8        the office where we have to sit at a table and give a
              9   Q.   So it• s correct then that sare custcxrers gave you cash       9        person our receipts and any cash that we may have fran
             10        or checks on the route?                                       10        the day.
             11   A.   Yes.                                                          11   Q.   Okay. 1ben did you oo anything else?
             12   Q.   Approximltely how llWlY ~d ch that?                           12   A.   Yes. Then after that we have to talk to -- w have to
             13   A,   I mean, it depends.     It's not -- I don't have an           13        go to a ca:rputer with one of the managers and they go
             14        approximate mmiler, but sane Imes -- a lot of the             14        thI01Jl3h the staps. They go thI01Jl3h our day. So they
             15        hams in the mute, you laxN, SCl!l8 will pay with a            15        go thI01Jl3h all the stops that you did, pull up any
             16        check because they have to pay OD delivery, cash OD           16        stops that didn't get delivered and -we decide whether
             17        delivery I guess, but as far as like the mspital,             17        w IIDV8 those to the next day or w mve thEm to
             18        those buildings, that stuff ms all just -- they were          18        another day. Once w finish with that, we get the
             19        a big carpany so they ptobably had credit c:axds, 'l'hey      19        stops for tcm:>c:ow and we go thI01Jl3h that list and
             20        just took receipts.     'l'hey had people that took care of   20        check if there's any stops that don't need water or w
             21        that.                                                         21        just check and see what w•re doing the next day and
             22   Q.   And llihat hawmed ~ you ~ done with yrur route                22        we decide if you• re IIX)Ving any of the older staps to
             23        for the day?                                                  23        that day, and then after that, they'll print out the
             24   A.   Then I had to drive back to the plant.                        24        papexwork and w just fill out the papeNJrk and put
             25   Q.   And \\hat did you ch Ir/hen you got back to the plant?        25        it in our box for the loaders and that• s the end of



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              1        the day.                                                       1        m:!eting with the rranager, correct?
              2   Q.   Did yoo have a term or phrase yoo used for the                2    A.   Yes.
              3        papen«>rk that you filled out for the loaders?                 3   Q.   Did you have any other jab duties or activities after
              4   A,   Just like a load sheet. Like a tmclt -- the tmclt             4         filling out your load sheet?
              5        load sheets basically is I guess that• s what they             5   A.   No. Once you get the load sheet, that's the end
              6        would call it.                                                 6        thing. You just write the pIOducte for the next day.
              7   Q.   Did you do anythi.IY:J with your handheld device after         7        You give the manager one, put one in the box, and
              8        yru checked in with --                                        8         that's it.
              g   A.   Yes. Once the -- once w give them the checks and the           9   Q.   Do you have a recollection of how nuch tine it
             10        cash, whatever, receipts for the day, they would --           10        typically took you fran the titre you did the check in
             11        they punch in numbers I guess or    atewr and then            11        with the truck with the wareh:luse people to the tine
             12        they clear out the bandheld. We hang it back up on            12        yoo finished your load sheet every day, that pericxl?
             13        the dock.                                                     13   A.   That I s about like 40 minutes to an hour depending on
             14   Q.   Woo is the they that you I re referring to?                   14        11CM many guys are back. Usually I was one of the
             15   A.   It would be just the people that IIOrk in the office,         15        later guys so it was always five, six guys ahead of
             16        scaiebody that works in the office. That's their jab,         16        me. I was usually there for at least an hour miDirmml
             17        to just checlt that part of the process in for us             17        or 45 minutes to an hour form on a good day I'll
             18        daily.                                                        18        mq.
             19   Q.   You nentioned that you \\Orked -- you had \\Orked with a      19   Q.   Did you ever need to fuel your truck?
             20        l'IBila9& in the rroming at arouoo the tine of chec:lciIY:J   20   A.   If I fueled it, it was in the 1mming. I was Jd11d of
             21        wt am yoo spoke with a ~ r in the eveni!Y;J. Was              21        locally so I didn It have to fuel duriJlg the day. I
             22        that the saire person?                                        22        just fueled once a day.
             23   A,   Not for m because I got back later so it would be a           23   Q.   What kiIXl of fuel did your truck take?
             24        different guy.                                                24   A.   We took diesel fuel.
             25   Q.   Who was the manager that you dealt with or rranagers,         25   Q.   Where did you fuel the truck?


                                                                        Page 27                                                              Page 29
              1        if it• s nore than one person, that you dealt with in          1   A.   We have a fuel tank in the back area where the trucks
              2        the romiD3?                                                    2        are. Where the trucks sit is a big fuel tanker out
              3   A.   You said you tant -- you said a name? Is that what             3        there that we pull up and fuel up if we need gas.
              4        you •re looking for?                                           4   Q.   },gain, ~ did you typically fill your truck?
              5   Q.   Yeah, the nane.                                                5   A.   It would be in the iroming when w first get our
              6   A.   One of then was Alex Mix, Hee.ks.     He was there in the      6        trucks.
              7        IlmlliDg. Then we bad -- it was Alex aDd it was -- not         7   Q.   Did you cb that for every tine you drove?
              8        Scott. Scott was there in the aftemoon. I can't                8   A,   No.    I would do it evety maybe like two to three days
              g        remeai>er. We had a few. We had Michael Roach that             g        because, like I said, I was Jd11d of locally and I was
             10        was there in the m:,mings for a time.      Oh, yeah, Scott    10        sitting amund at a lot of buildings for vq day. I
             11        Snyder. IJe was there I think in the mmung also               11        wasn•t just drivillg 110DStop so I didn't have to fuel
             12        SaDetimea, but it's usual just -- it•s only two guys,         12        up every day.
             13        one per side. We have two different divisions, like a         13   Q.   Okay. How i.iere -- durirY:3 this tine frane, late 2017
             14        north and south division.     It was a manager for each       14        to the tine you erx:led, hcM 11.ere you paid? How was
             15        division.                                                     15        your pay calculated by Absopure?
             16   Q.   Which division \Ere yoo in?                                   16   A.   We li'er8 camdssion so it goes off -- it guess it goes
             17   A.   I was in the south.                                           17        off 11CM mu:h water w sell thtougbout the day, 11CM
             18   Q.   .And who was or were the ll8Ila9&S that yoo dealt with        18        much product w sell.
             19        after checking in?                                            19   Q.   I •m going to put up another oocurent for you. Just
             20   A.   In the evenillg?                                              20        give ne a mirrute. Okay. can you see a d:lrurent in
             21   Q.   Yes.                                                          21        front of you?
             22   A.   It was Hike lt.ilhinnie. IJe was one. b       else was        22   A.   Yes.
             23        there? Yeah. Usually I just worked with Nike                  23   Q.   Do you -- am I will put for the record, if you give
             24        Mctlbinnie.                                                   24        ne a mirrute, the docurrent that has been proouced in
             25   Q.   .And you said that yoo filled wt a load sheet after           25        this case is -- bears Bates IllJd)ers 4401 thrwgh 4429,


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                                                                         Page 30                                                                 Page 32
               1        arrl, Mr. BrcMll, do you recognize -- I •m sw.ri.rY3 you       1        llllCh •should have made because sanetimes the checks
               2        just one page D'7tl.     I can scroll throu3h in a minute.     2        my -- sanetines they would maybe mess up on the
               3        Do you recognize the .dorurent I'm showin:J you?               3        checks sanetimes so we can see how much we supposed to
               4   A.   Yes.                                                           4        have made for a day.
               5   Q.   And wat is it?                                                 5   Q.   I see. Were you able to determine on a day-by-day --
               6   A.   'l1lis is what they ll0Uld give us when we got our checks      6        any way for you to find out on a given day after you
               7        that kind of shcM like a bmaltdc,,,m of how much water         7        were done with your route, did you have any i-ay to
               8        we delivered that day and what the -- like I guess             8        find out how nuch you -- camlissions you trade for that
               9        what the camission w made off the day for deliveries           9        day?
              10        was.                                                10             A.   Yes. Once we talked to one of the managers at the
              11   Q.   I see. Okay. lhis just hawens to have the week fran 11                  desk when we were finishing up the route, they can
              12        Novslber 11, 2019, throu3h Novemer 15, 2019.        12                  tell you how much you made that day.
              13   A.   Yes.                                                          13   Q.   Okay.  I'm goin:J to go through this particular page in
              14   Q.   '!bat shcMs that yoo 11.0rked five days that week.      Did   14        front us, arrl the third colum fran the left, it says
              15        yoo typically II.Ork five days per week?                      15        sales eight percent.
              16   A.   Yes.                                                          16   A.   Okay.
              17   Q.   Did you ever \IAJrk rore than five days per week?             17   Q.   What is that?
              18   A.   we would writ on a Saturday rmidcmly scmtimes, yes.           18   A.   I have DO idea honestly.
              19   Q.   can you say hcM often you 11.0rked on Saturdays?              19   Q.   And units eight percent arrl cannission eight percent,
              20   A.   Art/ time -- I know for sure when it's a major holiday,       20        you don't kna..l what those uean?
              21        4th of July, Labor Day, Hemorial Day. When we were            21   A.   I'm going to assume that is -- units is what they
              22        off on a day thl'Ough the ~ . we would cme in on              22        count as far as like what we sold off the truck so I
              23        Saturdays to make up for that day, and SCIDBtimes             23        guess it would be like the bottles of water or the
              24        during the smmier, if it was a hot sumer, a lot of            24        coffee or lllbatever, but I'm not sure about the
              25        times you sell out of your water because mre stops            25        percentages and all that.       I don't Ullderstand the


                                                                         Page 31                                                                  Page 33
               1        need mre water. We would nm out of water so that               1        breakdown. I never did. I never really like paid
               2        means w•ll bring stops back, so satetimes they told            2        attention to that stuff. I just -- the only thing I
               3        us we have to cme in on a Saturday to try to make up           3        did was write cbm \Gla.t they told me bow much I made
               4        sane stops, you know, make up sane deliveries or               4        that day.
               5        tmatever.                                                      5   Q.   What is your uooerstarnin:J of how you -- you said you
               6   Q.   Did yoo typically do your full route on a Saturday the         6        lrlere paid carmission. lb.I that carmission was
               7        sane as you did during the --                                  7        calculated, what's your uooerstaming of that?
               8   A.   N:>t a full route, no.     we usually just dealt with          8   A,   I know we got a certain percentage of whatever we
               9        hc:mes 011 the ~ because cmpanies are not open                 9        deliver so everybody paid a different am:Rmt for the
              10        during t h e ~ so it was mostly hc:mes.                       10        water and we got a certain amount of a percenl:alJe of
              11   Q.   I see. And did you use the sane truck that you used           11        what we sold, lllbatever we delivered to that stop. So
              12        during the week typically?                                    12        if a stop took eight bottles, we VlUld get -- you
              13   A.   Typically, yes.                                               13        know, if the total was $64 for the eight bottles, we
              14   Q.   I'm goirr:J to run through this one page.     let rre --      14        got a percentage off those 64 bottles I guess.
              15        I Ill rore back to it.      I'm ~ID:J to scroll through       15   Q.   'lbe percentage was off the anount of the sale, is that
              16        the -- they're a little hard to read.       Can you           16        correct?
              17        actually see the rnmbers on your screen?                      17                       MR. FRisrn:   Objection. He said it was
              18   A.   Yes, I can see thm.                                           18        based on the annmt that he delivered.
              19   Q.   Very g:xxi.    And let cre ga?t back to that one. We 111 go   19                       m wrnmss: Yeah, for delivmy. I wasn't
              20        throogh that one day. We can scroll through the rest          20        a salesperson. We just delivered water.
              21        of the OOC\.llreJlt.   ~ often 11.ere you given these         21   BY MR. aJ,t,IDGS:
              22        sheets?                                                       22   Q.   For the delivery then, that ..oold be the value of the
              23   A.   we get those weii we get our checks I think or the end        23        products delivered, is that correct?
              24        of the ~ . I forget. I think we got them wen we               24   A.   Yes.       I'm saying sales but I'm neanillg delivmy.   we
              25        got our checks. 'Dlat way we can pinpoint exactly how         25        just delivered 'IIRlter.     we didn t have any like sales.
                                                                                                                                    1




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                                                                          Page 34                                                                   Page 36
              1         We didn't go out mald.ng sales. We just delivered               1   Q.   - - is that correct?
              2         water.                                                          2                                  Arrl I 111 note just for the
                                                                                                               MR. (U,f,ITN3S:
              3    Q.   I see.    Nc:M, I see sare colUTlllS. 'Ihe first three          3        record I will put this dorurent in as Exhibit 1. I
              4         colums talk aboot sales, units, and camtissions with            4        believe, Ms. Benhart, you should have received an
              5         a little eight percent in parentheses. To the right             5        e-mail with copies of this and you, too, Mr. Frisch,
              6         of that I see coll11111S with sales 16 percent units and        6        and we'll mark this as Exhibit 1 to the deposition.
               7        camlission 16 percent.      Do you knc,,,, what that rreans?    7                      REMn'ELY INIRODOCED:
              8    A.   No, I don't understand. As I told you, I really never           8                      DfilOSITION EXHIBIT 1
              9         looked at these sheets of papers. 'l1le only thing I            9                      10:48 a.m.
             10         got was the -- I got wt they told me I made for that           10   BY MR. ~ :
             11         day. I never looked at the percentages and all that            11   Q.   Arrl I don't -- is there anything rore that you want to
             12         stuff. I was told t1e made a certain percentage off            12        see with this, Mr. Broim, before we g::, away?
             13         atever t1e delivered.                                          13   A.   No. I mean, I know what the papeN>rk is but yeah.
             14    Q.   By that do you trean you just looked at the totals that        14        So it's not a SUiprise of me seeiDJ this, no.
             15         it said that you were owed?                                    15   Q.   It's correct you were provided with sheets either
             16    A.   Yes.                                                           16        weekly or biweekly \I.hen you received your pay stub, is
             17    Q.   Were you paid a different percentage of camrl.ssions on        17        that correct?
             18         different prodlcts?                                            18   A.   Yes.
             19    A.   Yeah. OJffee -- I think coffee was 'lllllrth mre than          19   Q.   Ho.ii were you paid? Was it by check or direct deposit
             20         water frau at I remmber, coffee products and like              20        or --
             21         cups and things.    we got a higher percentage on cups         21   A.   I got checks, but I then I end up getting direct
             22         that was delivered and coffee.                                 22        deposit tcNard the end of 111/ tenure I think.
             23    Q.   So there \IWld be sate products that were delivered            23   Q.   Okay.     We may c:cxre back to that in a little bit. lt7'I
             24         for the -- you \Glld see one percentage based on the           24        I want to talk to you about -- were you -- did
             25         value of those prcxiucts and different -- another set          25        Absopure ever camunicate to you in any way that --


                                                                          Page 35                                                                    Page 37
              1         of prooucts you received a higher percentage based on           1        about increasin3 the J'llll'ber of prcducts sold or
              2         the value of the prcxiucts delivered, is that correct?          2        delivered on your rootes?
              3    A.   Yes.     I think so, yes.                                       3                      MR. FRISOI: Objection, vague.       You can
              4    Q.   Okay. Arrl so \I.hen you received this sheet, this \r,00],d     4        answer.
              5         tell you -- where w:uld -- where w::mld you look on             5                      'DIE WI'INESS:    No, not really.   I mean, they
              6         this sheet to fill rut hcM nuch you \\"ere paid on any          6        would say t%y to -- \llhen you guys are making
              7         given day?                                                      7        deliveries, can you t%y to get mre sales, but we
              8    A.   I didn't look at this sheet for that.        I just got that    8        didn't have time to. We were too busy making
              9         frau the managers at the end of the day off the                 9        deliveries to the 40, 50 stops we had per day so that
             10         c:arputer when they pulled up the papenmk. When they           10        was not our job.
             11         pulled up our stops for the day and stuff, it sbcws            11   BY MR. QM.lmlS:
             12         bow tll1Ch we made that day.                                   12   Q.   Did you ever -- even tlnigh it wasn't your job, did it
             13    Q.   Okay. Arrl did you ever use this sheet to cmpare with          13        ever occur ooin3 your rrutes that you interacted with
             14         the Illilbers on your pay stub?                                14        a custarer in sare way that they bought more prodlcts
             15    A.   1" wife 'lll0Uld look over a lot because scaethles they        15        fmn~?
              16        'lll0Uld mess up on our checks scmethles so she looked         16   A.   You said did I do that?
              17        over this stuff. She's the m.milers perscn so I just           17   Q.   Yeah, you, yourself.
              18        started writing dol1ID every day whatever they told me         18   A.   No, I didn't do that.
             19         and then I would just, you know, total it up wen I             19   Q.   Did any custarer ever refer you to other potential
              20        got 'at/ check.                                                20        custarers?
             21    Q.   NcM I'm goin3 to go -- scrollin3 thro\.r3ll the docuirent      21   A.   People may see the struck driving down the street and
             22         just briefly, and it's just to give yoo a sense to             22        just ask about water, but no. '11ley always called the
             23         see. }ljain, these sheets in general look familiar to          23        office for that. We didn't do that.          '11ley have a
             24         you --                                                         24        sales deparbrelt there that does all that stuff. 'ltey
             25    A.   Yes.                                                           25        just get the sales for us and then w lll8ke the



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              1         deliveries.                                                 1    A.   Then I '1l0Uld S\llllP it out like we do with the water
              2    Q.   When you delivered to houses, when you started your         2         bottles.
              3         route for the day, oo you kncM exactly ho.rJ 118J1Y         3    Q.   And you irentioned your load sheet. Is it correct to
              4         prodlct:s you 1d be delivering to each house that you       4         say that the load sheet -- what was the puipOSe of the
              5         \\ent to for that day?                                      5         load sheet?
              6    A.   Yeah,    It has a number. Sanetimes it take less,           6    A.   Well, the load sheet kind of goes off your stops that
              7         sanetimes it take more dependiJJg on the weather or bow     7         you have for the day.    So say I have 25 stops but
              8         much they drunk in that time frame frm the last              8        every the stop has a different amrunt of water. The
              9         delivery.                                                    g        load sheet totals evmyt:hing up fran water to coffee
             10    Q.   How \IWld they tell you whether you took less or --         10        and evmyt:hing SO the next moIIUDg when W grab our
             11         they \\O\lld take less or nore on that --                   11        truck, they have the truck loaded with the right
             12    A.   Salle people just would leave the water outside or once     12        mrount of water for deliveries so we don I t nm out.
             13         we got to the house, they m.i1d tell us I only need         13   Q.   And, again, hcM did you detennine the nmbers that you
             14         one orb«> this time. I '110111d grab then b«> bottles       14        put on the load sheet?
             15         and that was it, grab b«> bottles and print out their       15   A.   Whatever the ccmputer generates.
             16         receipt for them. 'l'bey would either pay 1118 or they      16   Q.   What carputer is that?
             17         was autanatically.                                          17   A.   Just the CC11pUter that has all the stops. All our
             18    Q.   Did custarers ever have a practice of just leaving a        18        stops fmn our route, it just has like, you kna.ril, I
             19         certain nuiter of enpty bottles out?                        19        guess maybe it's a sales history type thing where if
             20    A.   Yes.                                                        20        this person usually takes four bottles every delivery,
             21    Q.   Did that tell you ha.r nuch new water to give them for      21        they have then in for four.     When you have 30, 40
             22         that day?                                                   22        stops, it just generates all the total water. You
             23    A.   It would tell us, yes, or they MJUl.d leave a note          23        just put on the load sheet that you need 200 scmething
             24         saying, hey, I don't need any this llX)llth, just take      24        bottles of this, 100 bottles of this and the loaders
             25         the erpties or I don't need four, I just need b«>           25        load it up for us so we can deliver it.


                                                                        Page 39                                                               Page 41
              1         because I have saie left over so it varies.                  1   Q.   On the load sheet, did you ever specify enough -- nore
              2    Q.   I knew that for water deliveries custarers tell the          2        products than your custcxrers typically took on the
              3         driver OCM many bottles they want. 'lbe driver \\O\lld       3        route?
              4         typically just replace the nmber of bottles that they        4   A.   We always used to have -- I mean, our truck holds so
              5         saw outside.     Is that how you typically operated?         5        many bays of water.     It holds I think it was 120 on
              6    A.   For the most part, yes.                                      6        each side, but if you only needed 80, you still put
              7    Q.   How about detetmi.nirY3 the miwer of prochlcts to give       7         the 120 just in case sanebody ~ need extra. '11ley
              8         to a business? How did that \I.Ork every day?                8        '110111d call us a lot saying sanebody just called in at
              9    A.   Pretty much the same thing.     we just~ wherever they       9        this stop.    If you're in the area, can you bit this
             10         have their little water area where they have they           10        one, too. SO we always kim:l of had extra in case they
             11         eupties. We just replace the eupty bottles.                 11        mud call us with mre stops to do.
              12   Q.   And hCM about with coffee products?                         12   Q.   Was that true for both coffee products arrl water
              13   A.   0:>ffee was -- for the most part people w:mld call in       13        products?
              14        coffee orders and they just give then -- you lmaii, I       14   A.   No, not with coffee. We didn't take coffee out every
              15        mud see it on 1ttf load sheet that I need coffee so I       15        day like water. We only took coffee out if w had a
              16        '110111d brbig it but I don't -- we didn't just bring       16        specific order for a coffee.
              17         coffee every time like the water bottles. That was a       17   Q.   How \I.Uuld you fioo out about that order?
              18        different process.                                          18   A.   It will be on the load sheet with, you kna.ril, water
              19   Q.   When you \\ent to rusinesses, did they ever tell you        19        products at night.
              20        hCM nuch coffee they wanted for that particular day?        20   Q.   So that \IWld be scxrething you \IWld put on the load
              21   A.   No.     Scmetimes we 1IWl.d just ~ in and check to see if   21        sheet at the eIXl of the day?
              22        they needed any coffee if I had sane for then. Like         22   A.   Yes.
              23        if the area was full, I mtldn't leave it. I just            23   Q.   And where did you -- where did you f iirl out that
              24        wuld keep it and bring it back.                             24        rnmber to put on the load sheet?
              25   Q.   And if the area was not full, what 'I\Ould you cb?          25   A.   Fran the CC11pUter,   We don't have any like -- we



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              1         didn • t do any tallying on our own.    It was in the           1         new accounts, yes.
              2         ca:iputer, a sales history maybe. I •m 110t sure were           2    Q.   was that sarething that yw put on the truck at the
              3         the mmi>ers c:me £nm, but it will have a st.op and it            3        beginnilY:J of your route before you started your --
              4         will have all the product they take, wether it's                4    A.   Yeah.    If we bad any new coffee makers or just coffee
              5         water, coffee, cups. It was the same order like every           5         makers that bad to get swapped out, we got t:h:>se wbmi
              6         week unless they called in and said they needed extra           6         we got our coolers in the mming.
              7         or needed l1YJr8 or less.                                        7   Q.   Aboot how often did that typically occur?
              8    Q.   What \raS that carp.1ter that yw•re referriIY:J to?              8   A.   '11le coffee makers?
              9    A.   It's just the main caiputer that w use tilben we return          9   Q.   Yes.
             10         back £nm mrk were we• re going through our st.ops for           10   A.   Like I said, it just depend on if one clunks out on
             11         the day. It slDs all -- every st.op that we made. It            11        scmebody or if we just bad -- we bad a lot -- any time
             12         shew if it was done or 110t, how llllch water it took.          12        the sales guys -- they 'll10Ul.d have their little
             13         It was that c:mputer, So that prints up all the -- it           13        blitzes. 'l1ley 'll10Ul.d give out a free trial sow mud
             14         shew all the infomation frm the daily IOUte that we             14        have to mop them off for them so we '1110Ul.d have a lot
             15         did.                                                            15        then, but I didn't have -- the coffee makers, we oon•t
             16    Q.   Okay. As far as how you were paid, did yw ever                  16        swap those out too often unless ycu have coffee st.ops.
             17         receive -- and \lie looked at the percentages on the            17        I didn •t have too many coffee stops on 'ltr/ route.
             18         carmission sheet.      Did you ever receive aalitional pay      18   Q.   Did taking a coffee machine occur less often than
             19         besides percentages on prooucts -- the value of                 19        briIY:JiIY:J a cooler?
             20         prod.lets delivered?                                            20   A.   Oh, yes, yes.
             21    A.   ~-                                                              n    ~    Were you paid anything extra for swapping out or
             22    Q.   What about borruses? was there a bonus program that             22        putting in or taking out a coffee machine?
             23         gave you --                                                     23   A.   Yes. It was like how the water -- I think like maybe
             24    A.   We got -- like every -- quarterly we got like a one             24        $3 for coffee and seven, eight for a new account I
             25         percent just of whatever we delivered. The total                25        think.


                                                                         Page 43                                                                    Page 45
              1         amount of bottles that we delivered, w got a little              1   Q.   Okay.    Give ae a minute.
              2         percentage off of that so we 'll10Ul.d get like a                2                     MR. FRISCli: We've been going like an hrur
              3         quarterly check.                                                 3        an~y. If you' re in a clear place for a break, \\by
              4    Q.   Do you recall if you had to do anything to qualify for           4        don I t we take a bathroan break for t'NO or three
               5        that bonus?                                                      5        minutes.
              6    A.   ~. 'l1ley go off of whatever ycu delivered.       If you         6                        MR. ~ : 'lbat•s fine.        We can go off
              7         bad a busy four im:mtbs, like in the sumnertime it was           7        the record.
              8         l1YJr8 because it's bot sow delivered u:ore water so             8                        (Off the record at 11:00 a.m.)
               9        you 'll10Ul.d get -- the little quarterly check 'l«ll1ld be a    9                        (Back on the record at 11:11 a.m.)
              10        little bit mre in the mmmertime than the wintertime             10   BY MR. aJ,t,tIN3S:
              11        wen you wre delivering less bottles.                            11   Q.   Mr. Bro.iln, do you recall if you were assigned an
              12   Q.   Were you paid any am.mt for, say, deliveriIY:J a                12        enployee lU.ltber at Absopure? You're on rrute.
              13        certain lU.ltber of bottles?                                    13   A.   Can you hear me DtM?
              14   A,   Yeah. We got the percentage off each bottle w                   14   Q.   Yes, we can hear you.       I asked if yru recalled \!whether
              15        delivered so it wasn't anything like if ycu delivered           15        you were assigned an enployee lU.ltber 'Ahlle yw t.ere at
              16        20 ycu got like a bonus. It wasn't anything like                16        Absop.lre.
              17        that, 110.                                                      17   A.   I oon•t recall. I'm pretty sure we may have bad
              18   Q.   Did yw get any extra p a ~ for installiIY:J or taking           18        sa:nething, but I can't think of anything.
              19        rut coolers?                                                    19   Q.   I •rn getting sare nuroers that Abscp.rre gave rre. I
              20   A.   Yes. Por cooler swaps I think w got like three or               20        just want to see if yru had an miepeooent neoory of
              21        four bucks for a swap, and if it was like a new setup,          21        it.     I'rn going to put sane rnrrbers up on the screen
              22        we mild get I think $7.                                         22        for you here that AbsopJre has inforned rre applied to
              23   Q.   I see. Did yw ever Jllt in coffee IMkers, the coffee            23        you. I want to see \fflether or not that refreshes your
              24        nachines for custarers?                                         24        trerory or not if these are the correct mrrbers that
              25   A.   Yes. We had to book up coffee machines if you have              25        pertain to yru so please give rre a minute. 'Ihe



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              1         IlUtbers on the screen, like I said, are just     nuroers      l    A.   Pretty sure they may have gave me a handbook liilen I
              2         given to us b y ~ am I will say that these are                 2         got the joo, but I never -- I ckm 1 t recall this, no.
              3         the mnilers that were given COJll'eming you, am it              3   Q.   Okay.
              4         lists an erployee nuroer, if you can see that on the           4    A.   What was in it, no.
              5         screen, of 817118. Do you know -- have any                      5   Q.   Yw said you rray have been given a handbook wen yw
              6         recollection of whether or oot that was in fact yoor            6        started the job.         What do you recall about that?
              7         enployee nurrber?                                               7   A.   Nothing really, just -- I'm pretty sure they gave us a
              8    A.   No, sir.                                                        8        handbook. I knew they had passed those out I'm pretty
              9    Q.   Okay.    It also told rre -- this is again a pericxl in         9        sure so I don't knew.
             10         late 2019.     It lists your shipient route, a rwte            10   Q.   Do yru recall whether or oot they asked you to read
             11         mlliler of 11049. Does that refresh your recollection          11        the haoobook?
             12         or --                                                          12   A.   I don't recall that, honestly, no.
             13    A.   Yes.                                                           13   Q.   Do you recall if you actually did read through any or
             14                      MR. FR.ISO!:   I'm goin:J to object. 'lbere•s     14        all of the haoobook?
             15         no fot.urlltion for that since he said he I s never seen       15   A.   I'm pretty sure I read sane of it.            I'm not sure if I
             16         this before.                                                   16        read the \ClOle thing or not.          I don't mDBli>er.
             17    BYMR. ~ :                                                           17   Q.   Okay.
             18    Q.   What I was g:>in:J to ask is was the rwte nutber that          18   A.   That's 13 years 8130• I don't remeai>er.
             19         you drove, that yw said you drove ll'OSt of the tine in        19   Q.   lhxlerstocxi.
             20         Detroit, was that rwte mlliler 11049?                          20                        MR. ~ = Okay.              I.et rre oouble check
             21    A.   Yes. 49 was what was on 'lfl/ handle. Yes, that was the        21        here.   Okay. That I s it for the questions that I have.
             22         route.                                                         22        I.et rre -- I think I'm still sharin:J the screen. We'll
             23    Q.   Were you given just the last t"'10 digits, 49? Is that         23        stop that .      I 'm   oone with the questions today. I
             24         correct?                                                       24        oon•t know if yoo have any, Mr. Frisch.
             25    A.   Yes, 49.                                                       25                        MR. FRISCl:I:   I just have a few follCM-up


                                                                          Page 47                                                                       Page 49
              1    Q.   ADi you said you didn't recall the vehicle rurber at            1        questions. 'Ibanks .
              2         the tine.    Is it possible that 316 was the vehicle            2                                   EX1'.MINATION
              3         nmber that yw drove?                                            3   BY MR. FRISOi:
              4                      MR. FR.ISO!:   Hold on. 'lbat's an inproper        4   Q.   Mr. Brown, there "'86 -- opposing COllllSel asked yw
              5         question.    Who koorlS what I s possible? I •m g:>in:J to      5        questions regarding the vehicles that yru drove am
              6         cbject am advise yru not to aJlS't.er.                          6        you referred to several different trucks. You said
              7    BYMR.~:                                                              7        you drove l!0St of the vehicles, if not all of them, in
              8    Q.   Do you recall -- ooes the nutber sho.rJing on the screen        8        the fleet of I guess Abscp.lre.            Did sare of toose
               9        refresh your rrerrory at all as to the rurber of the            9        vehicles inclooe snaller vehicles like Sprinter vans?
              10        vehicle that you drove?                                        10   A.   Yes.
              11   A.   316 is the truck I've driven before, yes.        I'm not       11   Q.   So you drove Sprinter vans durin:J the pericxl of tirre
              12        sure if that was -- I can't re:rie:ii,er what 'lfl/ main       12        that you ~re erployed by Absopure?
              13        truck mmber was, 310. I mean, I move all those                 13   A.   Yes. Bvety mM and then I \ritl1lld drive a Sprinter van.
              14        auclts before, though, yes.                                    14   Q.   'lben relative to, say, the last three years of
              15   Q.   'lbat was it. 'lbat I s all I needed to ask abwt this.         15        erployrrent, so 2017 to 2020 \\ten yru last ~rked for
              16        Okay.    I'm g:>ID:J to put aoother &x.urent up shortly        16        Absopure, did you also drive Sprinter vans on occasion
              17        here. Okay.      I'm puttiD:J up a oocurrent for the record    17        as part of your erployrrent with Absopure?
              18        that bears Bates IlUl!ters 0177 throogh 0208.       I'm        18   A.   Yes, on occasion, not a lot, but, yes, I move them
              19        putting up the first page.      It says associate              19        before a few tines, yes.
              20        handbook.                                                      20   Q.   Are you able to estirrate, like a give a percentag! of
              21                     Mr. Brown, I'm g:>in:J to sllcM yru this one      21        the arrount of tirres that you drove a snaller vehicle
              22        page am start scrolling p.l9!S am then ask you if you          22        like a Sprinter van 1r.½ien you were carpleting ywr
              23        recognize this cbcurent at all.       You can tell rre if      23        rwte?
              24        you •ve seen eilCU::lh or not. Do you recall having seen       24   A.   It \ritl1lld be around like three to five percent.
              25        a ckx:ment or one like this before?                            25   Q.   Okay.    When you did -- you didn't typically switch


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               1        vehicles on a given day, right? So when 11.e•re talking       1    JUSTIN GUY, individually and
               2        about driving this three to five percent, mild that           2    on behalf of those similarly
               3        be that you drove the Sprinter van for the entire day?        3    situated,
               4   A,   Yes,                                                                                 Plaintiff,

               5   Q,   For one full day or --                                                  vs.                       Case No. 20-cv-12734-MAG-EAS
               6   A,   Yes. It wwd be a full day, yes.                                                                   Hon. Mark A. Goldsmith
               7   Q,   Okay. And you said that was three to five percent of          7    ABSOPURE WATER COMPANY, LLC,

               8        the tirre?                                                    8    a domestic limited liability

               9   A,   Yes.                                                          9    company,

              10   Q.   Fran 2017 to 2020?                                           10                      Defendant.

                   A,                                                                      _ _ _ _ _ _ _ _ _ _ _ _!
              11        Yes.   During that time frame, yes.                          11

              12   Q.   I think you testified -- defense counsel asked you or        12                   VERIFICATION OF DEPONENT

              13        you said in your testim:my that you typically eooed          13
              14        your route at about 4:30 or five and you carpleted           14                      I, having read the foregoing examination

              15        yrur last delivery within that titre frarre                  1s         under oath consisting o: my testimony at the

              16        approximately each day. What did you -- then you             16         aforementioned time and place, subject to the changes

              17        described actually what you did after that. You said         17         in the attached errata sheet, do hereby attest to the

              18        you then head back to the Plyirouth facility, correct?       1a         correctness and truthfulness of the transcript.

              19   A.   Yes,                                                         19

              20   Q.   Okay. '11len you returned the truck?                         20

              21   A.   Yes.                                                         21

              22   Q.   And you carpleted the load sheet?                            22

              23   A,   Yes.                                                         23

              24   Q.   And then after you coopleted the load sheet, that's          24                        KEITH BROWN

              25        when you 11.ere done for the day?                            25                        Dated:



                                                                         Page 51                                                                  Page 53
               1   A,   Yes.   Once we get the load sheet and we fill out the          l                                ERRATA SHEET

               2        papen«>rk, yes, then we're done.                              2    PAGE LINE READS                             PAGE LINE SHOULD READ

               3   Q.   If you typically emed your roote or got off the road          3

               4        aboot 4 :30 or five in the eveni.n3, what titre w:>Uld you    4

               5        typically harxl in your route sheet or yoor load sheet        5

               6        and end a typical \I.Urkday?                                   6

               7   A.   Around after six, around like 6:30, six or 6:30-ish.          7

               8   Q.   ~-                                                            8

               9                     MR. FRISCl{:   'lbat' s all I have, actually.    9

              10                     MR. ~ :           I have mthing further then.   10

              11                     MR, FRISOI:    '!bank you,                      l l

              12                              (Deposition concltded at 11:19 a.m.    12
              13                     Signature of the witness was requested.         13

              14                                                                     l4

              15                                                                     15

              16                                                                     16

              17                                                                     17

              18                                                                     18

              19                                                                     19

              20                                                                     20

              21                                                                     21

              22                                                                     22

              23                                                                     23

              24                                                                     24

              25                                                                      25




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              1                           CERTIFICATE OF NOTARY
              2   STATE OF MICHIGAN I
              3                       )    ss
              4   COUNTY OF WAYNE     )

              5

              6                     I, HBLBN F. BBNHART, certify that this

              7   deposition was taken remotely before me on the date
              B   hereinbefore set forth; that the foregoing questions
              9   and answers were recorded by me stenographieally and
             10   reduced to computer transcription; that this is a
             11   true, full and correct transcript of my stenographic
             12   notes so taken; and that I am not related to, nor of
             13   counsel to, either party nor interested in the event
             14   of this cause.
             15
             16

             17

             18
             19
             20
             21
             22                             HELEN F. BENIIART, CSR-2614

             23                             Notary Public,
             24                             Wayne County, Michigan.
             25        My Commission expires:       7/7/2027




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